This action of summary process was brought in the Circuit Court, fourteenth circuit, and tried to the court. On August 30, 1961, the court adjudged that the plaintiff recover possession of the premises described in the complaint, and costs. *Page 471 
The defendant filed an appeal from the judgment of said court to the Appellate Division of the Circuit Court on September 13, 1961. A motion to dismiss the appeal of the defendant was filed on September 15, 1961, alleging that the defendant had failed to comply with Rule 7.5 of the rules of the Circuit Court in that (a) the appeal dated September 13, 1961, does not fall within the two-week period as set forth therein, and (b) the appeal, on said date, did not contain a certification of notice to plaintiff and such a certification was not made until September 14, 1961. The motion further recites that the defendant's right of appeal is governed by § 52-542 of the General Statutes and alleged that the defendant's appeal was made for the sole purpose of delay. The plaintiff, in oral argument, averred that the appeal bond was improper and not in accord with the statute prescribing the same.
   No. 509, § 4, of the 1961 Public Acts provides for the repeal of § 52-542 of the General Statutes as amended by Public Acts 1959, No. 28, § 132, and further provides that no appeal shall be taken by the defendant in an action of summary process except within five days from the date of judgment. The appeal was not filed within this period. It is not necessary to consider the other arguments advanced for the purpose of disposing of this appeal. The appeal is dismissed.
In this opinion MISSAL and HAMILL, Js., concurred.